880 F.2d 1322
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Bill DURHAM, Defendant-Appellant.
    No. 88-6175.
    United States Court of Appeals, Sixth Circuit.
    Aug. 2, 1989.
    
      1
      Before MERRITT and KENNEDY, Circuit Judges, and JAMES D. TODD, District Court Judge.*
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is AFFIRMED.
    
    
      
        *
         The Honorable James D. Todd, District Judge for the Western District of Tennessee, sitting by designation
      
    
    